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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY

 IN RE JOHNSON & JOHNSON TALCUM                          MDL NO. 16-2738 (FLW) (LHG)
 POWDER PRODUCTS MARKETING, SALES                        JUDGE FREDA L. WOLFSON
 PRACTICES, AND PRODUCTS LIABILITY                       MAG. JUDGE LOIS H. GOODMAN
 LITIGATION


 KATRINA JENSEN,                                         COMPLAINT AND JURY DEMAND

                           Plaintiff,                    Civil Action No.: 3:21-cv-1637

 v.

 JOHNSON & JOHNSON, INC., JOHNSON &                      DIRECT FILED ACTION
 JOHNSON CONSUMER, INC.

                          Defendants.


                   SHORT FORM COMPLAINT AND JURY DEMAND


       The Plaintiff(s) named below file(s) this Short Form Complaint and Demand for Jury Trial

against Defendants named below by and through the undersigned counsel.               Plaintiff(s)

incorporate(s) by reference the allegations contained in Plaintiffs’ Master Long Form Complaint

in In re: Talcum Powder Products Marketing, Sales Practices, and Products Liability

Litigation, MDL No. 2738 in the United States District Court for the District of New Jersey.

Plaintiff(s) file(s) this Short Form Complaint as permitted by Case Management Order No. 1 of

this Court.

       In addition to those causes of action contained in Plaintiffs’ Master Long Form

Complaint, where certain claims require specific pleadings and/or amendments, Plaintiff(s) shall

add and include them herein.




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                                IDENTIFICATION OF PARTIES

      Identification of Plaintiff(s)

1.    Name of individual injured due to the use of talcum powder product(s): Katrina Jensen.


2.    At the time of the filing of the specific case, Plaintiff(s) is/are a citizen of Greenville County,

      SC.


3.    Consortium Claim(s): The following individual(s) allege damages for loss of consortium:
      N/A.

4.    Survival and/or Wrongful Death Claims:

              Name and residence of Decedent Plaintiff when she suffered the talcum powder

              product(s) related death: N/A.


5.    Plaintiff/Decedent was born in 1958 and died on N/A.


6.    Plaintiff is filing this case in a representative capacity as the                          of the

                                               , having been duly appointed as the

                                               by the                                    Court of

                                       .


7.    As a result of using talcum powder products, Plaintiff/Decedent suffered personal and

      economic injur(ies) that are alleged to have been caused by the use of the products

      identified in Paragraph 16 below, but not limited to, the following:


              X         injury to herself

                        injury to the person represented

                        wrongful death
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                         survivorship action

               X         economic loss

                         loss of services

                         loss of consortium

                         other:


      Identification of Defendants

8.    Plaintiff(s)/Decedent Plaintiff(s) is/are using the following Defendant(s) (please check all

      that apply)1

                     Johnson & Johnson

                     Johnson & Johnson Consumer Inc.

              □      Imerys Talc America, Inc. (“Imerys Talc”)

              □      Personal Care Products Council (“PCPC”)

         Additional Defendants:

               □        Other(s) Defendant(s) (please specify):

                                    JURISDICTION & VENUE

      Jurisdiction:

9.    Jurisdiction in this Short Form Complaint is based on:

                     Diversity of Citizenship

               □        Other (The basis of any additional ground for jurisdiction must be pled in


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       If additional Counts and/or Counts directed to other Defendants are alleged by the specific
     Plaintiff(s) as to whom this Short Form Complaint applies, the specific facts supporting these
     allegations must be pleaded by the Plaintiff(s) in a manner complying with the requirements of the
     Federal Rules of Civil Procedure, and the Defendants against whom they are alleged must be
     specifically identified on a separate sheet of paper attached to this Short Form Complaint.

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       sufficient detail as required by the applicable Federal Rules of Civil Procedure).



      Venue:

10.   District Court(s) and Division (if any) in which venue was proper where you might have

      otherwise filed this Short Form Complaint absent the direct filing Order entered by this

      Court and to where remand could be ordered by the Judicial Panel for trial: United States

      District Court for the District of South Carolina.

                                  CASE SPECIFIC FACTS

11.   Plaintiff(s) currently reside(s) in (City, State): Marietta, SC.

12.   At the time of the Plaintiff’s/Decedent’s diagnosis with a talcum powder product(s) injury,

      Plaintiff/Decedent resided in (City, State): Marietta, SC.

13.   The Plaintiff/Decedent was diagnosed with a talcum powder product(s) injury in (City, State):

      Jacksonville, NC on or about December 2004 (date).

14.   To the best of Plaintiff’s knowledge, Plaintiff/Decedent began using talcum powder

      product(s) on or about the following date: 1968 and continued the use of talcum powder

      product(s) through about the following date: 1997.

15.   The Plaintiff/Decedent purchased talcum powder product(s) in the following State(s):

      South Carolina.

16.   Plaintiff/Decedent used the following talcum powder products:

              □       Shower to Shower

                     Johnson & Johnson’s Baby Powder


                                     CAUSES OF ACTION

17.   Plaintiff(s) hereby adopt(s) and incorporate(s) by reference the Master Long Form


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      Complaint and Jury Demand as if fully set forth herein.

18.   The following claims and allegations asserted in the Master Long Form Complaint and

      Jury Demand are herein adopted by reference by Plaintiff(s):

             □       Count I: Products Liability – Strict Liability –
                     Failure to Warn (Against Imerys Talc)

                    Count II: Products Liability – Strict Liability –
                     Failure to Warn (Against the Johnson &
                     Johnson Defendants)

             □       Count III: Products Liability – Strict Liability
                     – Defective Manufacturer and Design
                     (Against Imerys Talc)

                    Count IV: Products Liability – Strict Liability
                     – Defendant Manufacturer and Design
                     (Against the Johnson & Johnson Defendants)

                    Count V: Breach of Express Warranties
                     (Against the Johnson & Johnson Defendants)

                    Count VI: Breach of Implied Warranty of
                     Merchantability (Against the Johnson &
                     Johnson Defendants)

                    Count VII: Breach of Implied Warranty of
                     Fitness for a Particular Purpose (Against the
                     Johnson & Johnson Defendants)

             □       Count VIII: Negligence (Against Imerys Talc)

                    Count IX: Negligence (Against the Johnson &
                     Johnson Defendants)

             □       Count X: Negligence (Against PCPC)

                    Count XI:       Negligent Misrepresentation
                     (Against the Johnson & Johnson Defendants)

                    Count XII: Fraud (Against the Johnson &
                     Johnson Defendants)

             □       Count XIII: Fraud (Against PCPC)


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                Count XIV: Violation of State Consumer
                 Protection Laws of the State(s) of South
                 Carolina (Against the Johnson & Johnson
                 Defendants)

           □     Count XV: Fraudulent Concealment (Against
                 Imerys Talc)

                Count XVI: Fraudulent Concealment (Against
                 the Johnson & Johnson Defendants)

           □     Count XVII: Fraudulent Concealment (Against PCPC)

                Count XVIII: Civil Conspiracy (Against All
                 Defendants)

                Count XIX: Loss of Consortium (Against All
                 Defendants)

                Count XX: Punitive Damages (Against All
                 Defendants)

                Count XXI: Discovery Rule and Tolling
                 (Against All Defendants)

            □     Count XXII: Wrongful Death (Against All Defendants)

            □     Count XXIII: Survival Action (Against All Defendants)

            □     Furthermore, Plaintiff(s) assert(s) the following additional theories and/or

                  State Causes of Action against Defendant(s) identified in Paragraph nine

                  (9) above. If Plaintiff(s) includes additional theories of recovery, to the

                  extent they require specificity in pleadings, the specific facts and allegations

                  supporting these theories must be pled by Plaintiff(s) in a manner complying

                  with the requirements of the Federal Rules of Civil Procedure.




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       WHEREFORE, Plaintiff(s) pray(s) for relief and judgment against Defendants of

compensatory damages, punitive damages, interest, costs of suit, and such further relief as the

Court deems equitable and just, and as set forth in the Master Long Form Complaint as appropriate.

                                         JURY DEMAND

             Plaintiff(s) hereby demand a trial by jury as to all claims in this action.

                                                       Respectfully Submitted by,

                                                       ONDERLAW, LLC

                                              By:      /s/ W. Wylie Blair
                                                       James G. Onder, #38049
                                                       William W. Blair, #58196
                                                       Stephanie L. Rados, #65117
                                                       110 E. Lockwood, 2nd Floor
                                                       St. Louis, MO 63119
                                                       314-963-9000 telephone
                                                       314-963-1700 facsimile
                                                       onder@onderlaw.com
                                                       blair@onderlaw.com
                                                       rados@onderlaw.com

                                                       Counsel for Plaintiff(s)




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